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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION
UNITED STATES OF AMERICA                        §
                                                §      CRIMINAL NO:
vs.                                             §      SA:17-CR-00031(1)-XR
                                                §
(1) MICHAEL J. BADGETT                          §

                      ORDER RESETTING SENTENCING
        IT IS HEREBY ORDERED that the above entitled and numbered case is reset for
SENTENCING in Courtroom 3, on the First Floor of the John H. Wood, Jr. United States
Courthouse, 655 East Cesar E. Chavez Boulevard, San Antonio, TX, on Wednesday, August
09, 2017 at 01:30 PM.

       IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to
counsel for defendant, the United States Attorney, United States Pretrial Services and the United
States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,
if the defendant is on bond, advise the defendant to be present at this proceeding.

        IT IS SO ORDERED this 30th day of May, 2017.




                                                ______________________________
                                                XAVIER RODRIGUEZ
                                                UNITED STATES DISTRICT JUDGE
